Case 3:11-cr-00733-BTM   Document 81    Filed 12/10/12   PageID.248   Page 1 of 1



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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,     )        Case No. 11CR0733BTM
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )        ORDER OF DISMISSAL
                                   )        OF INDICTMENT AND
13   JORGE CANTABRANA-CASTANEDA (3))        RECALL OF ARREST WARRANT
                                   )
14                  Defendant.     )
     ______________________________)
15
16        Upon motion of the UNITED STATES OF AMERICA and good cause
17   appearing,
18        IT IS HEREBY ORDERED that the Indictment in the above entitled
19   case be dismissed as to Defendant JORGE CANTABRANA-CASTANEDA, without
20   prejudice, and the arrest warrant be recalled.
21        IT IS SO ORDERED.
22   DATED: December 10, 2012
                                       HONORABLE BARRY TED MOSKOWITZ
23                                     Chief Judge, United States District Court
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